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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION




IN RE: ETHICON PHYSIOMESH
FLEXIBLE COMPOSITE HERNIA MESH PRODUCTS                  MDL No.: 2782
LIABILITY LITIGATION,


This Document Relates To:                                Master Docket Case No.:
                                                         1: 17-md-02782-RWS
Scott v. Johnson & Johnson et al.
Case No.: 1:17-cv-02528-RWS                             Honorable Richard W. Story



                                          ORDER



       This matter is before the Court on Attorney Andrew S. Golub's Motion to Withdraw,


which is GRANTED. Plaintiff will continue to be represented by W. Todd Harvey, Peter H.


Burke, and Amanda H. Schafner.


       SO ORDERED, this       ) {$day of August, 2017.
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